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      1              IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
      2
          Case No. 16-cv-00432-PAB-MEH
      3   ___________________________________________________________________

      4   SANTIAGO ABREU,

      5         Plaintiff,

      6   vs.

      7   TAVIN FOODS, INC.,

      8        Defendant.
          ___________________________________________________________________
      9

     10              Proceedings before MICHAEL E. HEGARTY, United

     11   States Magistrate Judge, United States District Court for the

     12   District of Colorado, commencing at 2:11 p.m., July 14, 2016,

     13   in the United States Courthouse, Denver, Colorado.

     14   ___________________________________________________________________

     15              WHEREUPON, THE ELECTRONICALLY RECORDED PROCEEDINGS

     16   ARE HEREIN TYPOGRAPHICALLY TRANSCRIBED. . .

     17   ___________________________________________________________________

     18                           APPEARANCES

     19              RICHARD LESLIE, Attorney at Law, appearing for

     20   the Plaintiff.

     21             MICHAEL ABBONDANZA, appearing pro se.
          ___________________________________________________________________
     22

     23                        SCHEDULING CONFERENCE

     24

     25



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      1                      P R O C E E D I N G S

      2               (Whereupon, the within electronically recorded

      3   proceedings are herein transcribed, pursuant to order of

      4   counsel.)

      5               THE COURT:    All right, I guess we'll do these one

      6   at a time.    Is that what we want to do or call all four

      7   cases?   It's anybody's preference.

      8               MR. LESLIE:    I think one at a time is fine, Your

      9   Honor.

     10               THE COURT:    All right.   Case Number 16-cv-432,

     11   Santiago Abreu vs. Atabe [sic] Food, Inc., doing business as

     12   Riverbend Market and Eatery.

     13               MR. LESLIE:    Good afternoon, Your Honor.     My name

     14   is Richard Leslie.    I represent the plaintiff Santiago Abreu.

     15               THE COURT:    Thank you.

     16               MR. LESLIE:    And unfortunately, Your Honor,

     17   (inaudible) the first page on the proposed scheduling order,

     18   it's got Atabe Foods.      It's Tavin Foods with an N.     I

     19   apologize.

     20               THE COURT:    Tavin, very good.     Go ahead, sir, and

     21   give me your full name.

     22               MR. ABBONDANZA:    Mike Abbondanza.

     23               THE COURT:    Okay.   And what's your connection with

     24   Tavin Foods?

     25               MR. ABBONDANZA:    I'm the owner of the restaurant.



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      1               THE COURT:    All right.    Okay.    So there is the

      2   unfortunate rule in our court that a corporation can only

      3   appear by an attorney, cannot appear by pro se litigant.           So

      4   do you have hopes of getting counsel?

      5               MR. ABBONDANZA:       I inquired to having counsel

      6   represent us, but it's cost prohibitive.          It's a small mom

      7   and pop restaurant in rural Colorado, in Bailey.

      8               THE COURT:    In Bailey?

      9               MR. ABBONDANZA:       Uh-huh.

     10               THE COURT:    Okay.    Mr. Leslie, you can stay seated,

     11   please.   Have you run across this issue before?

     12               MR. LESLIE:    Not in this type of case, Your Honor,

     13   but if I may, Your Honor, if the Court was inclined to allow

     14   Mr. Abbondanza some additional time, we have been desirous of

     15   working out solutions with him to -- to achieve as much

     16   compliance as is possible in his premises.

     17               THE COURT:    Well, that said, let me give you a

     18   hypothetical.    This may not be the case, but if -- really the

     19   only two practical outcomes are you dismiss or he shuts down

     20   his business.    Is it your intent to have him shut down his

     21   business?

     22               MR. LESLIE:    Absolutely not, Your Honor, absolutely

     23   not.

     24               THE COURT:    Okay.    I'm not saying it's bad or good.

     25   I just want to know where you would go on this, because I



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      1   have had litigants, the government in particular, who is

      2   perfectly fine with shutting down a business.            They don't

      3   care that it puts people out of work, but I think we ought to

      4   care about that.

      5              MR. LESLIE:    I appreciate that, Your Honor.          As you

      6   know, my firm has several of these cases and helping to

      7   educate and reach cooperative agreements involving compliance

      8   with the ADA is at the heart of what we're trying to do.

      9              THE COURT:    Okay.   What we can do here,

     10   Mr. Abbondanza, is you can file a motion -- well, I can try

     11   to shop this case around for volunteer counsel, okay.             Do you

     12   have any objection, Mr. Leslie?

     13              MR. LESLIE:    None, Your Honor.

     14              THE COURT:    So we have a panel of lawyers who have

     15   signed up with the court to take referrals.            They're not

     16   mandated to.   All I can do is ask.       And we ask up to four

     17   different lawyers who have expressed an interest in this sort

     18   of case, whether they would come in and take the case.             So

     19   I'm going to refer this to our pro bono clerk who will try

     20   and get an attorney, all right.

     21              MR. ABBONDANZA:     That would be wonderful, Your

     22   Honor.   And may I make a statement?

     23              THE COURT:    Yes, you can.

     24              MR. ABBONDANZA:     I have, in fact, engaged counsel

     25   in regards to settling this matter.



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      1             THE COURT:    Okay.

      2             MR. ABBONDANZA:       I was told that they would get

      3   back to me.   During the course of that conversation, I

      4   pointed out that the business is, in fact, not in

      5   Breckenridge, and I supplied photographs indicating that it

      6   is totally ADA compliant.     And I actually have those

      7   photographs with me.    I suspect that this particular

      8   plaintiff, who is a serial plaintiff, hasn't even been on

      9   these premises.

     10             THE COURT:    Okay, wait a second, wait a second.

     11   Does the complaint say it's in Breckenridge?

     12             MR. ABBONDANZA:     No, it does not, but that's what

     13   counsel said to me when we were having the conversation about

     14   potentially setting this.

     15             THE COURT:    Right, the complaint states in Bailey.

     16             THE CLERK:    (Inaudible).

     17             THE COURT:    Right.     I just want to -- wait a

     18   second.

     19             MR. ABBONDANZA:     Yes, Your Honor.        I was merely

     20   reiterating the conversation since I had it personally.

     21             THE COURT:    I understand.     Thank you, sir, I

     22   appreciate that.   Are you in Park County?

     23             MR. ABBONDANZA:     Yes, sir.

     24             THE COURT:    And Breckenridge is not in Park County.

     25   It's in Summit County, isn't it?



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      1             MR. ABBONDANZA:       I believe so.

      2             THE COURT:      So they do have it as Bailey in the

      3   complaint.   I'm sure Mr. Leslie will probably be happy to

      4   apologize and say he simply got it wrong if, in fact, he said

      5   Breckenridge.

      6             MR. ABBONDANZA:       I wasn't speaking to Mr. Leslie.

      7   I was speaking to one of his other -- one of the principals

      8   in the company because his name is on the letterhead.

      9             THE COURT:      You mean in the law firm?

     10             MR. ABBONDANZA:       Yes.

     11             THE COURT:      Okay.   Well, he'll apologize for that

     12   person, right?

     13             MR. LESLIE:      Your Honor, this wasn't a special --

     14   Mr. Huff, I'm not sure what he said.         I can reiterate for the

     15   Court that we are desirous of an open dialogue.

     16             THE COURT:      Okay, good.    Well, did you -- you're

     17   probably not, Mr. Leslie, in a position to look at a

     18   photograph and say this is or isn't compliant, right?

     19             MR. LESLIE:      I keep wanting to stand up, Your

     20   Honor.

     21             THE COURT:      You can stand if you want to.

     22             MR. LESLIE:      If I do, I apologize.        I'll try to

     23   remain seated.    Your Honor, each of these cases we refer to

     24   an expert and we deal with measurements and photographs of

     25   the expert, so -- and the allegation of this, that Mr. Abreu



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      1   was not on the premises, is, of course, false.       And not only

      2   did we use information provided by Mr. Abreu, but we've hired

      3   an expert to review the findings of Mr. Abreu.       So --

      4             THE COURT:   So, Mr. Abbondanza, the thing that I

      5   can't do today, no judge could, is decide something based on

      6   disputed statements.

      7             MR. ABBONDANZA:    No, I understand.

      8             THE COURT:   That's why we have lawsuits.

      9             MR. ABBONDANZA:    Right.

     10             THE COURT:   Now, you said you engaged an attorney

     11   for settlement -- oh, you mean you talked to him for

     12   settlement purposes?

     13             MR. ABBONDANZA:    Yes.

     14             THE COURT:   All right.

     15             MR. ABBONDANZA:    And it was perhaps only 10- to

     16   $15,000, which is the same amount of money Mr. Huff said he

     17   would take to go away.

     18             THE COURT:   Okay.   Well, what I'll do is -- I don't

     19   want to enter an order that may be void because it didn't

     20   have the participation of counsel, and I will enter just a

     21   short stay in the case to allow us to go through the process

     22   of trying to get you an attorney.

     23             I think Mr. Leslie will be open to hearing from you

     24   on why you think it's ADA compliant, but he also maybe tell

     25   you why he thinks it's not.    That's what the parties should



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      1   do anyway is have that kind of discussion that's civil and

      2   cordial.

      3              So I don't want to enter a scheduling order today

      4   because you're not represented, but we are usually able to

      5   find an attorney within about two months, so this will not be

      6   a long time period, and you can tell Mr. Abreu that we're

      7   going to rush as soon as we get something going.         And, of

      8   course, you wouldn't be paying for this lawyer.          It's pro

      9   bono, all right.

     10              MR. ABBONDANZA:      Is there something I need to file

     11   specifically?

     12              THE COURT:     No.   I think I'm just going to refer

     13   it.   So I'm going to enter an order asking our Clerk of the

     14   Court to try to find an attorney.        What may happen is you may

     15   get a phone call from a lawyer who wants to discuss it with

     16   you before he decides whether he is going to take the case or

     17   not, okay.

     18              MR. ABBONDANZA:      Thank you, Your Honor.

     19              THE COURT:     So until, I'm just going to enter a

     20   stay, unless there is an objection from Mr. Leslie.

     21              MR. LESLIE:     There is none, Your Honor.

     22              THE COURT:     All right.

     23              MR. LESLIE:     During that time, if I may, if

     24   Mr. Abbondanza would like to speak to me before --

     25              THE COURT:     Absolutely.



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      1               MR. LESLIE:    -- the door is open.        I have not

      2   spoken with him before today or met him before today.             I

      3   can't -- I can't go through every conversation with Mr. Huff,

      4   but if he would like, I would like him to have a conversation

      5   with me, and we can work on --

      6               THE COURT:    So you can call Mr. Leslie from now on,

      7   okay?

      8               MR. ABBONDANZA:    Very good, Your Honor.

      9               THE COURT:    And they won't make you talk to Mr.

     10   Huff.   You kind of got off on the wrong foot with him, so

     11   let's have him talk to Mr. Leslie.

     12               MR. ABBONDANZA:    Well, actually, Mr. Huff was very

     13   cordial.

     14               THE COURT:    Oh, was he?   He just got it wrong?

     15               MR. ABBONDANZA:    We did discuss the case and I

     16   brought to his attention -- he looked at the Google maps and

     17   saw that there is a ramp.      I sent him photographs showing

     18   that there are signs, designated parking and handicap

     19   parking, that he wasn't aware of.

     20               THE COURT:    Okay.

     21               MR. ABBONDANZA:    And that's when he put the stay

     22   order in.    And at that point he said, Look, just give me a

     23   call and that I did and never heard back until --

     24               THE COURT:    Okay.   Well, I'll set it for a status

     25   conference in any event, because I think you ought to be in



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       1   touch with Mr. Leslie in the meantime.

       2             MR. ABBONDANZA:       Very good.

       3             THE COURT:      I'm confident that he'll take a good

       4   faith look at whatever you have and he'll decide whether

       5   there is a case, because lawyers are required to do that at

       6   all moments anyway, because it's against the rules that we

       7   practice under a case where you don't have good faith basis

       8   for believing that there is a violation, and he'll take a

       9   look at that.

      10             And so we'll give you a status conference, let's

      11   say the 13th of September, at -- mornings or afternoons

      12   better for you?

      13             MR. ABBONDANZA:       It doesn't matter, Your Honor.

      14             THE COURT:      Do you live down near Bailey?

      15             MR. ABBONDANZA:       Yes.

      16             THE COURT:      We'll say 11:30.     Okay?

      17             MR. ABBONDANZA:       Very good.

      18             THE COURT:      And then in the meantime, you may be

      19   hearing from an attorney.       You will be talking to Mr. Leslie,

      20   and at that time, in September, I will -- if the case is

      21   still pending, I'll probably want to know, Mr. Leslie, maybe

      22   a more educated view on what you think the violations are.

      23   Okay?

      24             MR. LESLIE:      Understood, Your Honor.

      25             THE COURT:      All right.    Anything further on this



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       1   case?

       2             MR. LESLIE:      No.    Other than I will not be reaching

       3   out to Mr. Abbondanza.      If he wants to reach out to me, I

       4   will happily return his call or take his telephone call.

       5             THE COURT:      Okay, very good.     Do we have good

       6   contact information for you?

       7             MR. ABBONDANZA:        Not for this gentleman, no.

       8             THE COURT:      Okay, but Mr. Huff has it?

       9             MR. LESLIE:      Mr. Huff has my contact information.

      10             THE COURT:      Okay, we need to know it probably for

      11   our records too.

      12             MR. ABBONDANZA:        My phone number then?

      13             THE COURT:      Please.

      14             MR. ABBONDANZA:        303-260-8540.

      15             THE COURT:      And then the address.

      16             MR. ABBONDANZA:         Physical address is 28 -- the

      17   business or my home, sir?

      18             THE COURT:      The business.

      19             THE CLERK:      I just wanted something for counsel to

      20   reach him.

      21                THE COURT:   Okay.     So where would you want somebody

      22   to contact you?

      23             MR. ABBONDANZA:        Let's do the home.     28352 Bonanza

      24   Drive, Evergreen, Colorado 80439.

      25             THE COURT:      What do you serve, by the way?



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       1             MR. ABBONDANZA:      It's Thai cuisine.

       2             THE COURT:    Okay.

       3             MR. ABBONDANZA:       I've been in the community for

       4   over 20 years, JJ Magwells (ph), and then this start-up here,

       5   family owned and operated.

       6             THE COURT:    And is the name Tavin?

       7             MR. ABBONDANZA:       No.   It's called Riverbend Market.

       8             THE COURT:    Oh, Riverbend Market.

       9             MR. ABBONDANZA:      We're basically a serve and eat in

      10   a community where there is no grocery services and very few

      11   eating options.

      12             THE COURT:    Sure, understand.     I may have even been

      13   there myself, I don't know.      Okay.   Anything further from

      14   either of you?

      15             MR. LESLIE:    No.

      16             THE COURT:    Mr. Abbondanza, you're welcome to stay,

      17   but you're welcome to leave too.

      18             MR. ABBONDANZA:      I think I'll go to work, Your

      19   Honor.

      20             THE COURT:    Okay, very good.

      21             MR. ABBONDANZA:      And I do really appreciate this

      22   from the justice standpoint.

      23             THE COURT:    Sure.

      24             MR. ABBONDANZA:       This particular plaintiff is all

      25   over the Internet with the serial filings.



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       1             THE COURT:    Well, he has quite a few cases in our

       2   district, but we're open for business 24/7, okay.

       3             MR. ABBONDANZA:    I get -- the frightening part of a

       4   fellow like me is, after he is done, there is others that are

       5   coming back with him.

       6             THE COURT:    There is a lot of federal laws out

       7   there.

       8             MR. ABBONDANZA:    Thank you, Your Honor.

       9             THE COURT:    Thank you.   Nice to meet you too.

      10             (Whereupon, the within hearing was then in

      11   conclusion at 2:24 p.m.)

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       7   /s/ Dyann Labo                        March 28, 2019

       8   Signature of Transcriber                   Date

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